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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                 )
                                           )
                                           )
                                           )
            v.                             )   Criminal No. 19-10335-DJC
                                           )
TANMAYA KABRA,                            )
                                           )
            Defendant.                    )
__________________________________________)

                                MEMORANDUM AND ORDER

CASPER, J.                                                                    September 27, 2019


                                           Introduction
       Having made an independent, de novo review, see United States v. Pierce, 107 F. Supp. 2d

126, 128 (D. Mass. 2000); United States v. Tortora, 922 F.2d 880, 883 n.4 (1st Cir. 1990), of the

more developed record than that before the Court at the initial detention hearing, the Court

ALLOWS the motion to revoke detention order and orders pretrial release, D. 32, but subjects such

release to a number of special conditions. The government sought detention on the ground that

Defendant Tanmaya Kabra (“Kabra”) poses a serious risk of flight pursuant to 18 U.S.C. §3142(g).

For such ground to warrant pretrial detention, there must be a showing, upon a preponderance of

the evidence, that no condition or combination of conditions will reasonably assure the

Defendant’s appearance. 18 U.S.C. § 3142(e); United States v. DiGiacomo, 746 F. Supp. 1176,

1180-81 (D. Mass. 1980). In determining whether detention is warranted, the Court must consider

the factors under 18 U.S.C. § 3142(g) including the nature and circumstances of the offenses

charged; the weight of the evidence; the history and characteristics of the defendant; and the nature



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and seriousness of the danger that the defendant’s release would pose. The Court addresses each

of these factors in turn.

                                             Discussion

        As to the first two considerations, it is undisputed that Kabra is facing serious charges:

seven counts of wire fraud, one count of money laundering and one count of bank fraud. D. 28.

Each charge carries the potential for significant imprisonment (e.g., the wire fraud and bank fraud

counts alone carry maximum penalties of twenty and thirty years, respectively, D. 36-1 at 56, and

the government estimates the advisory GSR as more than five years imprisonment, D. 45 at 3),

and substantial fines and restitution to the alleged victims (Victim 1-4) along with the forfeiture of

“any property, real or personal, which constitutes or is derived from proceeds traceable to the

offenses” charged. D. 28 at 13. (Kabra also faces a SEC action, D. 42 at 8). The weight of

evidence as to these charges appears strong, particularly as to the bank fraud (involving Kabra’s

deposit of a $125,000 check for which there were no funds in the underlying account, but which

once deposited at Brookline Bank, he swiftly withdrew almost the full amount in a day’s time and,

despite false promises to contrary to the bank, never repaid the insufficient funds). D. 36-1 at 22-

25 and referenced exhibits. The Court understands that Kabra vigorously contests this charge and

the other charges as well. The Court has considered Kabra’s challenge to the weight of evidence

as to this and the other counts, particularly whether he obtained the investments (or “loans” as

Kabra has framed them) from Victims 1-4 by means of materially false and fraudulent pretenses,

representations and promises about the purpose of such investments and the likely timing of any

return on same. D. 33 at 18-19. Even so, the government has proffered a strong case as to the

charges here even as both parties acknowledge that the “weight of the evidence is the least




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important of the various factors” that this Court has to consider. D. 33 at 18; D.42 at 2 (both citing

United States v. Jones, 2008 WL 2434131, at *5 (S.D.N.Y. June 12, 2008)).

       As to the third factor, the history and characteristics of the defendant, the parties would

have the Court weigh this factor very differently even though the underlying facts (except as to his

true financial condition) are largely not disputed. Kabra is 25 years old, a naturalized citizen and

has lived in the United States for most of his life, the past seven years in Massachusetts. He was

born in India, but immigrated here with his parents as a two-year-old and was raised here until

2006 when he was thirteen years old and his family moved to Singapore. His parents and younger

brother still live in Singapore, but Kabra returned to Massachusetts in 2012 to attend Babson

College.   He graduated from the college in 2016 and remained in Massachusetts to build

LaunchByte, the subject of these criminal charges. Since September 2017, he has lived with his

girlfriend (and intended fiancée), Alma Tambone (“Tambone”) in Boston. D. 35 at 1. Since June

2019, when their most recent lease expired, Kabra and Tambone have lived in his parents’ condo

in New Jersey and her parents’ residence in Wenham, Massachusetts and that the two have plans

to rent an apartment in Beverly with assistance from Kabra’s father. D. 35 at 1.

       Kabra has spent most of life in the United States and has not lived in India since he was

two years old although he has some extended family there (including a grandmother) and has

visited twice in the past year to visit his grandfather and then to attend his memorial service. D.

35 at 3. Although Kabra was heading abroad for a two-week vacation with Tambone at the time

of his arrest, D. 35 at 2, they had return tickets and such trip (or any other trip abroad) will be

barred by his conditions of pretrial release. Much was made of Kabra’s status as an overseas

citizen of India (“OCI”) at the initial detention, but, as has been made clear on this appeal, travel

as an OCI from the United States still requires a passport. D. 45 at 1. The conditions of release



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limiting his travel to the district and requiring the continued seizure of his passport along with the

continued confiscation of his OCI document (also seized at the time of his arrest) and the further

condition that he may not seek, apply for or obtain a passport or any OCI or other travel document

from any source, U.S. agency, Indian embassy or consulate or other source, will address this

concern. Although Kabra’s family lives abroad, he has years-long ties here including to Tambone

and her parents who live in the district.

       As to Kabra’s current financial resources, the Court agrees, to some extent with the

government, that the picture of his current assets is not entirely clear. Yet, the government appears

to rely on the personal financial statement that Kabra provided to one of the Victims, D. 36-4

(Exhibit 9), to argue both that this financial information was false (to induce that investor into

believing falsely that Kabra could guarantee his investment, D. 36-1 at 29-33) and that it was also

true and indicates that he still has unaccounted for resources including cryptocurrencies that he

readily can access if released. D. 36-1 at 31. Similar arguments are made about references Kabra

made in texts with investors, referencing his “last 2M [two million] in the bank,” D. 36-3, where,

as the government also argues, their review of his bank records reveals nothing of the sort. D. 36-

1 at 16. This review, coupled with the allegations regarding Kabra’s alleged Ponzi scheme in

which the government plausibly contends that he used funds obtained from some victims to pay

others, see, e.g., D. 36-2 at ¶¶ 53,64, suggests that much of Kabra’s own declared financial means

may have been illusory. Although there is a strong suggestion that Kabra’s father has significant

financial means, see D. 34 at 1-2 (description of work), it is not clear how any such means have

been readily accessible to Kabra. Compare D. 35 at 1 (indicating that Kabra’s father will help with

rent of Beverly apartment) with D. 36-1 at 24-25 & D. 36-4 at 17 (Kabra promising, but not

delivering on, among other things, a wire from his father to Brookline Bank). Lastly, that his



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father actually has money abroad is different from Kabra referencing money in Mauritius to an

investor, who according to government’s theory, he was trying to lure into investing with him. D.

36-3 at 1. Unlike the evidence before the magistrate judge that perhaps was bolstered by reference

to international wires of money by Kabra, D. 36-1 at 28; D. 36-3 at 9,11, the unredacted versions

produced on appeal suggest that these wires were not going to Kabra’s accounts. D. 36-5 at 8, 10.

       Lastly, the government does not contend that Kabra poses a danger to the community, but

seeks detention regarding his risk of flight. Having considered the full record and all of the factors

under Section 3142(g), including the seriousness of the offenses, the Court concludes that a

combination of conditions, beyond what Kabra’s counsel has recommended, will assure his

appearance.

                                            Conclusion

       Accordingly, the Court ALLOWS the motion on the following conditions of release:

release on surety bond of $250K; home confinement with GPS bracelet (with exceptions for

employment interviews and employment with prior approval of PTS); report to PTS as directed;

refrain from use and possession of controlled substances; submit to drug testing as directed by

PTS; travel restricted to the District of Massachusetts; surrender of U.S. passport and OCI card to

PTS; not seek, apply for, obtain or possess a passport or any other travel document from the U.S.,

Indian consulate or embassy or any other source, U.S. or foreign; seek and obtain employment,

but refrain from self-employment or any employment with fiduciary responsibilities; report any

contact with law enforcement within 24 hours; identify and maintain a residence in the District of

Massachusetts acceptable to PTS (and suitable for GPS monitoring) and do not move without the

prior permission of PTS; and any other conditions that PTS may recommend to the Court.




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       The Court will schedule a hearing for the imposition of release on conditions as soon as

Kabra confirms a release plan with PTS that is consistent with these conditions.

So Ordered.
                                                            /s/ Denise J. Casper
                                                            United States District Judge




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